                   Case 3:95-cr-00160-PG                 Document 1900             Filed 04/05/06         Page 1 of 4
qAO 245D       (Rev. 12103)Judgmentin a         Casefor Revocations
               SheetI



                                                  o STaTESDISTRICTCOUnT
                       FORT                                    Districtof                            PUERTOzuCO              -
         UNITEDSTATESOF                                               JUDGMENTIN A CRIMINAL CASE
                   V.                                                 (For Revocation of Probation or SupervisedRelease)



                                                                      CaseNumber:                            (sEc)
                                                                                                     es-cR-160
               EDDIE V                        Z
         a/k/aEDDIE WILBERT                   EZ-LOPEZ                USMNumber:                     08
                                                                      AFPD.JOSEVAZOUEZ-ALVAREZ
                                                                      Defendant'sAttomey
THE DEFENDANT:
X   admittedguilt to violationof                s) one(1)                              of the term of supervision.

n   wasfoundin violationof                                                        afterdenialof guilt.
The defendant is adjudicated guilfy        theseviolations:


Violation Number                                                                                          Violation Ended
StandardConditionNo.I                        another federal crime.                                                  8/t0104




       The defendant is sentenced         providedin pages2 through               of thisjudgment. The sentence
                                                                                                              is imposedpursuantto
the Sentencing
             ReformAct of 1984.
n   Thedefendanthas
                  notviolated                ition(s)                          and is dischargedas to such violation(s) condition.

          It is ordered that the defe     nt mustnotifv theUnitedStatesattornevfor this disnict within 30 davsof anv
change of name, residence,or m;           I addressuntil all fines.restitution.costi. andspecialassessments
                                                                                                         imposedbv this iudementare
fullylaid. If ordered to pdy resti        n, the defendantmustirotify the cburtaridUniied Statesattorneyof inateriafchanfesin
econonuc cucutnstances.

Defendant'sSoc. Sec.No.:                                              APRIL 5.2006
                                                                      Dateof Impositionof Judgment
Defendant'sDateof Birth:


                                                                      g 5Jn^A^*6. e^^-II^.
                                                                      SignatureofJudge
Defendant'sResidence
                   Address:



                                                                      SALVADORE. CASELLAS.U.S.DISTRICTCOURT
                                                                      Name and Title of Judge



                                                                      April 5. 2006
                                                                      Date
Defendant'sMailing Address
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AO 245D     (Rev. l2l03 Judgmentin a     Casefor Revocations
            Sheet2- Imprisonment

                                                                                             Judgment-Page -2-     of   -4-
DEFENDANT:                  EDDIE        EZ.LOPEZ
CASENUMBER:                 95-CR-     (08)(sEc)

                                                    IMPRISONMENT

        The defendantis herebv  ittedto the custodyof theUnited StatesBureauof Prisonsto be imprisonedfor a
total term of : TWENTY          (27) MONTHS to be servedCONCURRENTLY to the sentenceimposed
in 04-CR-308(3)(JAG) for t District of Puerto Rico.



  f1 The court makesthe                                 to theBureauof Prisons:
                                       ing recommendations




  x The defendantis                      to the custodyof the United StatesMarshal.

  !     The defendantshall               to the United StatesMarshalfor this district:
        trat                                n a.m. n p.-.             on
        n    asnotifiedby theUni       StatesMarshal.

   f]   The defendantshall             for serviceof sentence                          by the Bureauof Prisons:
                                                            at the institutiondesignated

        !    before2 p.m. on

        n    asnotifiedby theUni

        n     asnotifiedby the           or PrefrialServicesOffice.

                                                           RETURN
I haveexecutedthisjudgmentas




        Defendant delivered on

                                              with a certified copy of this judgment.




                                                                                           UNITED STATESMARSHAL


                                                                  By
                                                                                        DEPUTYUNITED STATESMARSHAL
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AO 245D        (Rev. 12103)Judgmentin a     nal Casefor Revocations
               Sheet3 -
                                                                                                     Judgment-Page -J-        of ---4-
DEFENDANT:                  EDDIE
CASENUMBER:                 95-CR-         (08)(sEc)
                                                  SUPERVISEDRELEASE
Upon releasefrom imprisonment,                                           releasefor a term of : TWO (2) YEARS.
                                            defendantshallbe on supervised

             The defendantmust              to the probation office in the district to which the defendantis releasedwithin 72 hours
of release from the custodv of                    of Prisons.
The defendantshall not commit                    federal.stateor local crime.
The defendantshall not unlaw               possessa controlledsubstance.The defendantshall refrain from any unlawful useofa
controlled substance.The                   t shall submit to onedrug test within 15 daysof releasefrom imprisonmentand at least
two periodic drug tests                   as determinedby the court.
tr        The abovedrug testing               is suspended, basedon the court's determinationthat the defendantposesa low risk
          future substanceabuse,              if applicable.)
x The defendantshall not                     a firearm, destructivedevice,or any other dangerousweapon. (Checb if applicable.)

n The defendantshall                       in the collectionof DNA as directedby the probation officer. (Check' if applicable.)

!         The defendantshallregister     the statesexoffenderregistration agencyin the state where the defendantresides,
          or is a student,asdirected the probation officer. (Check, if applicable.)
!         The defendant shall                in an approvedprogram for domesticviolence. (Checlqif applicable.)
             If thisjudgmenti             a fine or restitution, it is be a condition ofsupervisedreleasethat the defendantpay in
accordance with the Schedule of                      sheetof thisjudgment.
        The defendantmust                    with the standard conditionsthat have been adopted by this court as well as with any
additional conditionson the                  page.
                                           ANDARD CONDITIONSOF SUPERVISION
     1 ) the defendantshallnot            thejudicial districtwithoutthepermissionof the courtor probationofficer;
    2)                    reportto
           thedefendantshall               probationofficer andshallsubmita truthful andcompletewritten reportwithin thefust five days
           of eachmonth:
     3)    the defendant shall answer         lly all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support      or her dependentsand meet other family responsibilities;
     5)    thedefendantshallwork           rly at a lawfuloccupation,           by theprobationofficerfor schooling,training,or other
                                                                    unlessexcused
                    reasons;
           acceptable
     6)    the defendantshallnotify       probationofficer at leastten daysprior to any changein residenceor employment;
     7)    the defendantshallrefrain                 useofalcohol andshallnot purchase,
                                             excessive                                possess,
                                                                                            use,distribute,or administerany
           controlledsubstance or anv               lia related to any controlled substances,except as prescribed by a physician;
     8)    the defendant shall not           places where controlled substancesare illegally sold, used, distributed, or administered;
     e) the defendantshall not               with any personsengagedin criminal activity and shall not associatewith any personconvicted
           ofa felony,unlessgranted rmission to do so by the probation officer;
10) the defendantshallpermit a                tion officer to visit him or her at any time at home or elsewhereand shall permit confiscation
           of any contabandobserved plain view of theprobationofficer;
1 l ) the defendantshall notify                                                 of beingarrestedor questioned
                                          probationofficer within seventy-twohours                          by a law enforcement
           officer;
12) thedefendantshallnot                                  actasaninformerora specialagentof a law enforcementagencywithoutthe
                                             anyagreementto
           permission of the court;
l 3 ) as directed bv the                       , the defendant shall notify third parties of risks that may be occasionedbythe defendant's
           criminal record or personal          or characteristicsand shall permit the probation officer to make such notifications and to
           confirm the defendant's         iance with such notification requirement.
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DEFEITIDAITIT:           EDDIE
CASE NT]MBER:            gs-cR-1 (08)(sEc)

                                       ONAL SUPERVISEDRELEASE TERMS
1. The defendantwill not                 anotherfederal,stateor local crime and shall not possess
                                                                                                firearmsor
controlledsubstances and             ply with the standardconditionsof supervisedreleaseadoptedby this
Court.

2, The defendant shall                the U.S.ProbationOfficer accessto any financial informationupon
request.

3. The defendant shall     his person,residence,officeor vehicleto a search,conductedby a U.S.
Probation Oflicer at a         time and in a reasonablemanner,basedupon reasonablesuspicion
of contrabandor evidence a violation of conditionof releaselfailure to submit to a searchmav be
groundsfor revocation;the       ant shallwarn any other residentsthat the premisesmay be subject
to searchespursuantto this  dition.
